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)LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH
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      Southern
    BBBBBBBBBBBBBBBBBBBB                  New York
                         'LVWULFWRIBBBBBBBBBBBBBBBBB
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                                                                 11
    &DVHQXPEHUIf known BBBBBBBBBBBBBBBBBBBBBBBBB&KDSWHUBBBBB                                                                         &KHFNLIWKLVLVDQ
                                                                                                                                                   DPHQGHGILOLQJ




2IILFLDO)RUP
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                 

,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHdebtor’sQDPHDQGWKHFDVH
QXPEHULINQRZQ)RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH




     Debtor’s name                                513 Union, LLC
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        WUDGHQDPHVDQG doing business
        as QDPHV                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

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     Debtor’s fHGHUDO(PSOR\HU                 8 3        0 7 6 0            6 6 3
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        ,GHQWLILFDWLRQ1XPEHU(,1
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     Debtor’s address                      3ULQFLSDOSODFHRIEXVLQHVV                                   0DLOLQJDGGUHVVLIGLIIHUHQWIURPSULQFLSDOSODFH
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                                                                                                              RIEXVLQHVV

                                                   21 Robert Pitt Drive
                                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                               1XPEHU    6WUHHW                                             1XPEHU    6WUHHW

                                                   Suite 214
                                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                              PO   Box 366
                                                                                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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     Debtor’s website85/                   N/A
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                                               X &RUSRUDWLRQLQFOXGLQJ/LPLWHG/LDELOLW\&RPSDQ\//&DQG/LPLWHG/LDELOLW\3DUWQHUVKLS//3
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     7\SHRIGHEWRU
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                                               2WKHU6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


2IILFLDO)RUP                                     9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                               SDJH
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'HEWRU           513 Union, LLC
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                             &DVHQXPEHUif knownBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                1DPH



                                             $ Check one:
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                                             % Check all that apply:

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                                                 KWWSZZZXVFRXUWVJRYIRXUGLJLWQDWLRQDODVVRFLDWLRQQDLFVFRGHV
                                                BBBBBBBBBBBB

   8QGHUZKLFKFKDSWHURIWKH            Check one:
      %DQNUXSWF\&RGHLVWKH
      GHEWRUILOLQJ"                        &KDSWHU
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                                             X &KDSWHUCheck all that apply
                                             
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                     LQVLGHUVRUDIILOLDWHVDUHOHVVWKDQDPRXQWVXEMHFWWRDGMXVWPHQWRQ
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                                                                     RIRSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRULIDOORIWKHVH
                                                                     GRFXPHQWVGRQRWH[LVWIROORZWKHSURFHGXUHLQ86&%

                                                                 $SODQLVEHLQJILOHGZLWKWKLVSHWLWLRQ
                                                                 $FFHSWDQFHVRIWKHSODQZHUHVROLFLWHGSUHSHWLWLRQIURPRQHRUPRUHFODVVHVRI
                                                                     FUHGLWRUVLQDFFRUGDQFHZLWK86&E

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                                                                     6HFXULWLHVDQG([FKDQJH&RPPLVVLRQDFFRUGLQJWRRUGRIWKH6HFXULWLHV
                                                                     ([FKDQJH$FWRI)LOHWKHAttachment to Voluntary Petition for Non-Individuals Filing
                                                                     for Bankruptcy under Chapter 112IILFLDO)RUP$ZLWKWKLVIRUP

                                                                 7KHGHEWRULVDVKHOOFRPSDQ\DVGHILQHGLQWKH6HFXULWLHV([FKDQJH$FWRI5XOH
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      ILOHGE\RUDJDLQVWWKHGHEWRU
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2IILFLDO)RUP                                9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                              SDJH
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'HEWRU           513 Union, LLC
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 :K\LVWKHFDVHILOHGLQthis     Check all that apply:
    district"
                                       X 'HEWRUKDVKDGLWVGRPLFLOHSULQFLSDOSODFHRIEXVLQHVVRUSULQFLSDODVVHWVLQWKLVGLVWULFWIRUGD\V
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                                       A bankruptcy case concerning debtor’s afILOLDWHJHQHUDOSDUWQHURUSDUWQHUVKLSLVSHQGLQJLQWKLVGLVWULFW

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    SRVVHVVLRQRIDQ\UHDO            <HV$QVZHUEHORZIRUHDFKSURSHUW\WKDWQHHGVLPPHGLDWHDWWHQWLRQ$WWDFKDGGLWLRQDOVKHHWVLIQHHGHG
    SURSHUW\RUSHUVRQDOSURSHUW\
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                                                   ,WSRVHVRULVDOOHJHGWRSRVHDWKUHDWRILPPLQHQWDQGLGHQWLILDEOHKD]DUGWRSXEOLFKHDOWKRUVDIHW\
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                                                      DWWHQWLRQIRUH[DPSOHOLYHVWRFNVHDVRQDOJRRGVPHDWGDLU\SURGXFHRUVHFXULWLHVUHODWHG
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           Statistical and administrative information



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    DYDLODEOHIXQGV                   X )XQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV
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